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City and County Ssatumetton See EASTER DISTT ORO MHA

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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF CALIFORNIA

= t7>- ; > Hi

- Stephen Gey.
AS EE os Pla. ntfh — Complaint for a Civil Case

7 219 - CV - 0188 TIN EFB PS

ee | Case No.
(Write the full name of each plaintiff who is filing (to be filled in by the Clerk’s Office)
this complaint. If the names of all the plaintiffs

cannot fit in the space above, please write “see

Jury Trial: Ol Yes No
(check one)

attached” in the space and attach an additional
page with the full list of names.)

-against-

Daub, Shea pe thehiie.

(Write the full name of each defendant who is
being sued. If the names of all the defendants
cannot fit in the space above, please write “see
attached” in the space and attach an additional
page with the full list of names.)

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Detd Dw 57, 20/7

IL The Parties to This Complaint
A. The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach
additional pages if needed.

Name Stephen / (ne; 4

Street Address

City and County we CERIN

State and Zip Code Gl f, Ch) 4A Ss [ |

Telephone Number LOS - SS 26 OY ae

B. The Defendant(s)

Provide the information below for each defendant named in the complaint,
whether the defendant is an individual, a government agency, an organization, or
a corporation. For an individual defendant, include the person’s job or title (if
known). Attach additional pages if needed.

Defendant No. |

Name De purty ie ls

Job or Title Def ue SA es; EA

(if known)

Street Address b> S/ = fe LO ek

City and County
State and Zip Code Ca Ly- OCS)

Telephone Number

Defendant No. 2

Name

Job or Title

(if known)
Street Address

City and County

State and Zip Code

Telephone Number

Fill out the paragraphs in this section that apply to this case.

A. If the Basis for Jurisdiction Is a Federal Question

List the specific federal statutes, federal treaties, and/or provisions of the United

States Constitution yr are at issue in this case.
(ces i as {— vA Lede 1

aot cawtracss

B. If the Basis for Jurisdiction Is Diversity of Citizenship

1, The Plaintiff(s)

a.

If the plaintiff is an individual

The plaintiff, (name) Ge vA Meer hiss cd del; “f is a citizen of

the State of (name) CLL fas CAA YF’

If the plaintiff is a corporation

‘ he.
The plaintiff, (name) M Ke & has fe Ce corporated
under the laws of the State of (name) Caf, OLS! AE ,

and has its principal place of business in the State of (name)

CLAP

(If more than one plaintiff is named in the complaint, attach an additional
page providing the same information for each additional plaintiff.)

2. The Defendant(s)

a.

If the defendant is an individual

LyeH/e Ss a citizen of

‘ye . Orisa citizen of

The defendant, (nam
the State of (name) ( af
(foreign nation)

i.

Defendant No. 3

Name

Job or Title

(if known)
Street Address

City and County

State and Zip Code

Telephone Number

Defendant No. 4

Name

Job or Title

(if known)
Street Address

City and County

State and Zip Code

Telephone Number

Basis for Jurisdiction

Federal Courts are courts of limited jurisdiction (limited power). Generally, only two
types of cases can be heard in Federal Court: cases involving a federal question and cases
involving diversity of citizenship of the parties. Under 28 U.S.C. § 1331, a case arising
under the United States Constitution or federal laws or treaties is a federal question case.
Under 28 U.S.C. § 1332, a case in which a citizen of one state sues a citizen of another
state or nation and the amount at stake is more than $75,000 is a diversity of citizenship
case. In a diversity of citizenship case, no defendant may be a citizen of the same state as
any plaintiff.

What is the basis for Federal Court jurisdiction? (check all that apply)

@® Federal question O Diversity of citizenship

II.

b. If the defendant is a corporation

The defendant, (name) SAL. depth, Durkle

incorporated under the laws of th Staté of (name)

(el Iter 4% , and has i TA. of
business i in the State of (namd Gx 1, PON !
incorporated under the laws of (foreign nation)

, and has its principal place of

. Oris

business in (name)

(If more than one defendant is named in the complaint, attach an
additional page providing the same information for each additional
defendant.)

3. The Amount in Controversy

The amount in controversy—the amount the plaintiff claims the defendant
owes or the amount at stake—is more than $75,000, Se. co ting in interest

and costs of court, because (explain): Ll ay Scot ae S

Statement of Claim

Write a short and plain statement of the claim. Do not make legal arguments. State as
briefly as possible the facts showing that each plaintiff is entitled to the damages or other
relief sought. State how each defendant was involved and what each defendant did that
caused the plaintiff harm or violated the plaintiff's rights, including the dates and places
of that involvement or conduct. If more than one claim is asserted, number each claim
and write a short and plain statement of each claim in a separate paragraph. Attach
additional pages if needed.

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Relief

State briefly and precisely what damages or other relief the plaintiff asks the court to
order. Do not make legal arguments. Include any basis for claiming that the wrongs
alleged are continuing at the present time. Include the amounts of any actual damages
claimed for the acts alleged and the basis for these amounts. Include any punitive or
exemplary damages claimed, the amounts, and the reasons you claim you are entitled to

actual or punitive money damages.

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Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my
knowledge, information, and belief that this complaint: (1) is not being presented for an
improper purpose, such as to harass, cause unnecessary delay, or needlessly increase the
cost of litigation; (2) is supported by existing law or by a nonfrivolous argument for
extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support
after a reasonable opportunity for further investigation or discovery; and (4) the
complaint otherwise complies with the requirements of Rule 11.

I agree to provide the Clerk’s Office with any changes to my address where case-
related papers may be served. I understand that my failure to keep a current
address on file with the Clerk’s Office may result in the dismissal of my case.

Date of signingyaw. 3 , 20 a

Signature of Plaintiff )
Printed Name of Plaintiff Vue fl mY

